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 8
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10                               UNITED STATES DISTRICT COURT
11                                    DISTRICT OF NEVADA
12                                               ***
13        LUCERO SANCHEZ,
14             Plaintiff,                              Case No. 3:21-cv-00352-MMD-WGC
15             vs.
16                                                     STIPULATED DISCOVERY PLAN
          RENOWN HEALTH, a Nevada Non-Profit           AND SCHEDULING ORDER
17        Corporation, and DOES 1-20, inclusive,
                                                       SUBMITTED IN COMPLIANCE
18             Defendant.                              WITH LR 26 1(b)
19
          __________________________________/
20

21
               Pursuant to the requirements of Fed. R. Civ. P. 26(f) and LR 26-1(b), Plaintiff
22
      and Defendant hereby submit the following Stipulated Discovery Plan and Scheduling
23
      Order in the above captioned matter.
24
                     A.     Information Requested by Fed. R. Civ. P. 26(f):
25
                            1.    Counsel for the parties conducted a meeting pursuant to
26
      Federal Rule of Civil Procedure 26 on October 22, 2021. Pursuant to an agreement
27

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 1 between the parties, the parties will serve initial disclosures in accordance with

 2 Federal Rule of Civil Procedure 26(a) on or before Friday, November 5, 2021.

 3                      2.     Discovery may be conducted on all discoverable matters

 4 relevant to issues raised by the Complaint (and amendments thereto), Answer, and

 5 any subsequent pleadings, consistent with the Federal Rules of Civil Procedure and

 6 the Local Rules of this District.

 7                      3.     No changes in limitations, other than those set forth below,

 8 set by either the Federal Rules of Civil Procedure or Local Rules for the District of

 9 Nevada are requested at this time.

10                B.    Information Requested by LR 26-1(b):

11                      1.     Discovery Cut-Off Date:

12                Discovery will not take more than one hundred eighty (180) days from

13 October 13, 2021. All discovery must be completed no later than Monday April 11,

14 2022. When producing documents responsive to a discovery request, the documents

15 shall be numbered, and the responsive documents shall be specifically referred to by

16 bates-number in the response.

17                      2.     Amending the Pleadings and Adding Parties:

18                The date for filing motions to amend the pleadings or to add parties shall

19 not be later than ninety (90) days prior to the discovery cut-off date and, therefore, not

20 later than Thursday, January 11, 2022. Any party causing additional parties to be

21 joined or brought to this action shall contemporaneously therewith cause a copy of

22 this Order to be served upon the new party or parties.

23                      3.     Fed. R. Civ. P. 26(a)(2) Disclosures (Experts):

24                The last day for disclosures required by Fed. R. Civ. P. 26(a)(2)

25 concerning experts shall be Thursday, February 10, 2022.               The last day for

26 disclosures regarding rebuttal experts shall be Monday, March 14, 2022.

27                      4.     Dispositive Motions:

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 1               The parties shall file dispositive motions not more than thirty (30) days

 2 after the discovery cut-off date and, therefore, not later than Wednesday, May 11,

 3 2022.

 4                      5.     Pretrial Order:

 5               If no dispositive motions are filed, and unless otherwise ordered by this

 6 Court, the Joint Pretrial Order shall be filed not more than thirty (30) days after the

 7 date set for filing dispositive motions and, therefore, not later than Friday, June 10,

 8 2022. In the event dispositive motions are filed, the last day to file the Joint Pretrial

 9 Order shall be suspended until thirty (30) days after the ruling on the dispositive

10 motions.

11                      6.     Fed. R. Civ. P. 26(a)(3) Disclosures:

12               The parties have stipulated to provide Fed. R. Civ. P. 26(a)(3) pretrial

13 disclosures in accordance with Fed. R. Civ. P. 26(a)(3) without modification.

14                      7.     Alternative Dispute Resolution

15               The parties certify that they met and conferred about the possibility of

16 using alternative dispute-resolution processes including mediation, arbitration, and if

17 applicable, early neutral evaluation. This matter is currently scheduled for an Early

18 Neutral Evaluation before Magistrate Judge Baldwin on December 2, 2021.

19                      8.     Alternative Forms of Case Disposition

20               The parties certify that they considered consent to trial by a magistrate

21 judge under 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73 and the use of the Short Trial

22 Program (General Order 2013-01).

23                      9.     Electronic Evidence

24         The parties certify that they discussed whether they intend to present evidence

25 in electronic format to jurors for the purposes of jury deliberations. The parties

26 stipulate to provide discovery in an electronic format compatible with the court’s

27 electronic jury evidence display system.

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 2               C.    Discovery Disputes:

 3         Before moving for an order relating to discovery, the movant must request a

 4 conference with the assigned magistrate judge.

 5

 6               RESPECTFULLY SUBMITTED this 10/22/2021:

 7

 8                                        By /s/ Sandra Ketner, Esq. ____
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 9                                        Of Counsel
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23

24               IT IS SO ORDERED.

25                                           _________________________________
26                                           UNITED STATES MAGISTRATE JUDGE

27
                                             DATED: October 25, 2021
28


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